     Case 2:25-cv-02264-HLT-BGS   Document 1   Filed 05/15/25    Page 1 of 37




                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS

JAMES JORDAN as the surviving SON of
decedent, ETHEL JORDAN and as SPECIAL
ADMINISTRATOR of the ESTATE OF                    Case No.
ETHEL JORDAN
45 Frisco Lane,                                   Division No.
Haughton, LA 71037
                                                  JURY TRIAL DEMANDED
                    Plaintiffs,

v.


BIG BLUE HEALTHCARE LLC d/b/a
RIVERBEND POST ACUTE
REHABILITATION
Serve Registered Agent:
Cogency Global Inc.
2101 SW 21st Street
Topeka, KS 66604

GATEWAY HEALTHCARE, LLC
Serve Registered Agent:
Cogency Global Inc.
2101 SW 21st Street
Topeka, KS 66604

ENSIGN GROUP, INC
Serve Registered Agent:
Cogency Global Inc
850 New Burton Road Suite 201
Dover, DE 19904

ENSIGN SERVICES, INC.
Serve Registered Agent:
Cogency Global Inc
321 W. WINNIE LANE #104
Carson City, NV, 89703




                                      1
    Case 2:25-cv-02264-HLT-BGS       Document 1     Filed 05/15/25   Page 2 of 37




 IGNITE MEDICAL RESORT RAINBOW
 BOULEVARD, LLC
 Serve Registered Agent:
 C T CORPORATION SYSTEM
 112 SOUTH WEST SEVENTH STREET SUITE
 3C
 TOPEKA, KS 66603

 IGNITE TEAM PARTNERS, LLC
 Serve Registered Agent:
 C T CORPORATION SYSTEM
 120 S CENTRAL AVE
 Clayton, MO 63105

                       Defendants.

                      PLAINTIFFS’ COMPLAINT FOR DAMAGES

       The Plaintiffs, by and through undersigned counsel, submits this Complaint for

Damages against the above-named Defendant, and in further support, states and

alleges as follows:

                                     PLAINTIFF

       1.     Ethel Jordan “Resident” suffered from an avoidable pressure in July

2023, at Riverbend Post Acute Rehabilitation, a Kansas skilled nursing facility

located at 7850 Freeman Avenue Kansas City, KS 66112 (“The Facility) that caused

necrotizing soft tissue infection and her death on September 10, 2023.

       2.     Plaintiff, James Jordan, is, and always relevant hereto, an adult over

the age of 21 and a resident of Louisiana.

       3.     Plaintiff, James Jordan is the Special Administrator of the Estate of

Ethel Jordan pursuant to Case No: WY-2023-PR-000497, Wyandotte County.




                                             2
    Case 2:25-cv-02264-HLT-BGS          Document 1   Filed 05/15/25   Page 3 of 37




       4.    Plaintiff is a surviving son of Resident, and therefore, a member of the

class of individuals authorized to pursue a wrongful death claim pursuant to K.S.A.

§ 60-1902.

                                   DEFENDANTS

       5.    Plaintiff incorporates by reference the allegations previously set

forth and further alleges as follows:

      BIG BLUE HEALTHCARE LLC d/b/a RIVERBEND POST ACUTE
                  REHABILITATION (“FACILITY”)

       6.    At all times relevant, Big Blue Healthcare, LLC d/b/a Riverbend Post

Acute Rehabilitation (“Ensign Facility”), was a liability company and owned,

operated, managed, maintained, and/or controlled, in whole or in part, and did

business as Riverbend Post Acute Rehabilitation (“Ensign Facility” or “the Ensign

Facility”) which is a Kansas skilled nursing facility located at 7850 Freeman

Avenue Kansas City, KS 66112.

       7.    As such, Ensign Facility was engaged in providing ancillary medical

services to persons requiring such services, including Resident, by owning,

operating, managing, maintaining, and controlling the Facility

       8.    Consequently, Ensign Facility, owed a duty to Resident to use

reasonable care for Resident’s safety while under the care and supervision at the

Facility.

                         GATEWAY HEALTHCARE, LLC

       9.    At all times relevant to this action, Gateway Healthcare, LLC

(“Gateway Healthcare”) was a Kansas limited liability company and was engaged in




                                            3
    Case 2:25-cv-02264-HLT-BGS         Document 1     Filed 05/15/25   Page 4 of 37




providing ancillary medical services to persons requiring such services, including

Resident, by owning, operating, managing, maintaining, and controlling the Facility.

       10.    At all times relevant, Gateway Healthcare, and/or individuals or

entities acting on its behalf, owned, operated, managed, maintained, and/or

controlled – in whole or in part – the Facility.

       11.    Gateway Healthcare, and/or individuals or entities acting on its behalf

operated, managed, maintained, and/or controlled the Facility by providing nursing

consulting services and exercising control over:

             a. Staffing budgets.

             b. The development and implementation of nursing policies and
                procedures.

             c. The hiring and firing of the administrator; and

             d. Training and supervising nursing staff persons.

       12.    These actions and business decisions had a direct impact on the care

provided to all residents including Resident.

       13.    Consequently, Gateway Healthcare owed a duty to Resident to use

reasonable care for Resident’s safety while under care and supervision at the

Facility.

                               ENSIGN SERVICES, INC

       14.    At all times relevant to this action, Defendant Ensign Services is a

Nevada company with its principal place of business in California and was engaged

in providing ancillary medical services to persons requiring such services, including

Resident, by owning, operating, managing, maintaining, and controlling the Ensign

Facility.




                                            4
    Case 2:25-cv-02264-HLT-BGS        Document 1     Filed 05/15/25    Page 5 of 37




      15.    At all times relevant to this action, Ensign Services, and/or individuals

or entities acting on its behalf, operated, managed, maintained, and/or controlled,

in whole or in part, the Facility.

      16.    Ensign Services, and/or individuals or entities acting on its behalf,

operated, managed, maintained, and controlled the Facility by exercising final

authority over:

            a. Staffing budgets.

            b. The development and implementation of nursing policies and
               procedures.

            c. The hiring and firing of the administrator; and

            d. Appointing the governing body that is legally responsible for
               establishing and implementing policies regarding the management and
               operation of the Facility.

      17.    These actions and business decisions had a direct impact on the care

provided to all residents including Resident at the Ensign Facility.

      18.    Consequently, Ensign Services owed a duty to Resident to use

reasonable care for Resident’s safety while under its care and supervision at the

Ensign Facility and breached said duty for all the reasons stated in this Complaint.

                                ENSIGN GROUP, INC

      19.    At all times relevant to this action, Defendant Ensign Group, Inc.,

(“Ensign Group”) was a California corporation and was engaged in providing

ancillary medical services to persons requiring such services, including Resident, by

owning, operating, managing, maintaining, and controlling the Facility.




                                           5
    Case 2:25-cv-02264-HLT-BGS        Document 1     Filed 05/15/25   Page 6 of 37




      20.    At all times relevant to this action, Ensign Group, and/or individuals

or entities acting on its behalf, operated, managed, maintained, and/or controlled,

in whole or in part, the Facility.

      21.    Ensign Group, and/or individuals or entities acting on its behalf,

operated, managed, maintained, and controlled the Facility by exercising final

authority over:

            a. Staffing budgets.

            b. The development and implementation of nursing policies and
               procedures.

            c. The hiring and firing of the administrator; and

            d. Appointing the governing body that is legally responsible for
               establishing and implementing policies regarding the management and
               operation of the Facility.

      22.    These actions and business decisions had a direct impact on the care

provided to all residents including Resident.

      23.    Consequently, Ensign Group owed a duty to Resident to use

reasonable care for Resident’s safety while under its care and supervision at the

Facility and breached said duty for all the reasons stated in this Petition.

         IGNITE MEDICAL RESORT RAINBOW BOULEVARD, LLC

      24.    At all times relevant, Ignite Medical Resort Rainbow Boulevard, LLC

(“Ignite Facility”), was an Illinois limited liability company and owned, operated,

managed, maintained, and/or controlled, in whole or in part, and did business as

Ignite Medical Resort Rainbow Boulevard, LLC (“Ignite Facility” or “the Ignite

Facility”) which is a Kansas skilled nursing facility located at 3910 Rainbow Blvd,

Suite 400, Kansas City, KS 66103.




                                           6
    Case 2:25-cv-02264-HLT-BGS          Document 1   Filed 05/15/25   Page 7 of 37




      25.    As such, Ignite Facility was engaged in providing ancillary medical

services to persons requiring such services, including Resident, by owning,

operating, managing, maintaining, and controlling the Facility

      26.    Consequently, Ignite Facility, owed a duty to Resident to use reasonable

care for Resident’s safety while under the care and supervision at the Facility.

            ENSIGN DEFENDANTS’ JOINT ENTERPRISE/VENTURE

      27.    Plaintiff incorporates by reference the allegations previously set

forth and further alleges as follows:

      28.    Defendants Ensign Facility, Ensign Services; Gateway Healthcare,

and Ensign Group (“Ensign Joint Venture Defendants”) were engaged in a joint

venture in that:

            a. The Ensign Joint Venture Defendants had an agreement, express and/or
               implied, among the members of the group to operate the Facility, a
               Kansas licensed nursing home.

            b. The Ensign Joint Venture Defendants had had a common purpose to
               operate the Facility, a Kansas licensed nursing home.

            c. The Ensign Joint Venture Defendants had a community of pecuniary
               interest in the operation of the Facility, a Kansas licensed nursing
               home; and

            d. The Ensign Joint Venture Defendants had had an equal right to a voice
               in the direction of the operation of the Facility, a Kansas licensed
               nursing home.

      29.    There has been always a close relationship between the Joint Venture

Defendants relevant.

      30.    Because of the joint venture, the Ensign Joint Venture Defendants

owed a joint duty to Resident to use reasonable care for their safety while under

their care and supervision at the Ensign Facility.




                                            7
    Case 2:25-cv-02264-HLT-BGS          Document 1   Filed 05/15/25    Page 8 of 37




                           IGNITE’S JOINT VENTURE

      31.    Plaintiff incorporates by reference the allegations previously set

forth and further alleges as follows:

      32.    Defendants Ignite Facility and Ignite Team Partners (“Ignite Joint

Venture Defendants”) were engaged in a joint venture in that:

            a. The Ignite Joint Venture Defendants had an agreement, express and/or
               implied, among the members of the group to operate the Facility, a
               Kansas licensed nursing home.

            b. The Ignite Joint Venture Defendants had had a common purpose to
               operate the Facility, a Kansas licensed nursing home.

            c. The Ignite Joint Venture Defendants had a community of pecuniary
               interest in the operation of the Facility, a Kansas licensed nursing
               home; and

            d. The Ignite Joint Venture Defendants had had an equal right to a voice
               in the direction of the operation of the Facility, a Kansas licensed
               nursing home.

      33.    There has been always a close relationship between the Ignite Joint

Venture Defendants relevant.

      34.    Because of the joint venture, the Ignite Joint Venture Defendants

Joint Venture Defendants owed a joint duty to Resident to use reasonable care for

their safety while under their care and supervision at the Facility.

                           JURISDICTION AND VENUE

      35.    Plaintiff incorporates by reference the allegations previously set

forth and further alleges as follows:

      36.    Venue is proper in this Court, because the tortious acts complained of

occurred in the United Staes District of Kansas.

      37.    Big Blue Healthcare, LLC is a Nevada limited liability company.




                                            8
    Case 2:25-cv-02264-HLT-BGS        Document 1      Filed 05/15/25   Page 9 of 37




      38.    The sole member of Big Blue Healthcare, LLC is Ensign Group, Inc.

      39.    Ensign Group, Inc., is a Delaware company with its headquarters and

principal place of business in California, and therefore, Big Blue Healthcare,

LLC and Ensign Group, Inc., are citizens of Delaware and California.

      40.    Gateway Healthcare, LLC is a Nevada limited liability company

      41.    The sole member of Gateway Healthcare, LLC, is Ensign Group, Inc.

      42.    Accordingly, Gateway Healthcare, LLC is a citizen of Delaware

and California.

      43.    Ensign Services, Inc., is a Nevada company with its principal place

of business in California, and thus a citizen of Nevada and California.

      44.    Ignite Medical Resort Rainbow Boulevard, LLC and Ignite Team

Partners, LLC are Illinois limited liability company registered to do business in the

state of Kansas.

      45.    The sole member of Ignite Medical Resort Rainbow Boulevard, LLC

and Ignite Team Partners, LLC is Barry Carr.

      46.    Barry Carr is a citizen of the State of Illinois.

      47.    Thus, Ignite Medical Resort Rainbow Boulevard, LLC and Ignite Team

Partners, LLC are a citizen of Illinois.

      48.    Plaintiff is a citizen of Louisiana.

      49.    The Estate of Ethel Jordan is a citizen of Kansas.

      50.    Plaintiffs bring their claims contained in the Complaint under federal

diversity jurisdiction, 28 U.S.C. § 1332(a)(1), as the parties are completely diverse

in citizenship and the amount in controversy exceeds $75,000.




                                           9
   Case 2:25-cv-02264-HLT-BGS        Document 1     Filed 05/15/25    Page 10 of 37




      51.    Defendants purposely availed themselves of the protections and/or

benefits of the laws in Kansas by conducting business in and committing tortious

acts within the state including, but not limited to, failing to ensure that that the

Facility had appropriate policies and procedures for its nursing staff; was properly

capitalized, funded, and staffed; and that staff received adequate training and

supervision while Resident was at the Ensign Facility and Ignite Facility, thereby

making jurisdiction proper in this Court.

                                      AGENCY

      52.    Plaintiff incorporates by reference the allegations previously set forth

and further alleges as follows:

      53.    The acts hereinafter described were performed by the agents,

representatives, servants, and employees of Defendants and were performed either

with the full knowledge and consent of Defendants, and/or were performed by their

agents, representatives, servants, or employees during the scope of their agency,

representation, or employment with the Defendants.

      54.    Furthermore, the acts hereinafter described as being performed by the

agents, representatives, servants, or employees of Defendants were performed or

were supposed to be performed on behalf of and/or for the benefit of Resident.

                             FACTUAL BACKGROUND

      55.    Plaintiff incorporates by reference the allegations previously set forth

and further alleges as follows:

     Ensign Facility; Gateway Healthcare; Ensign Services And Ensign
                      Group's; Treatment Of Resident

      56.    Resident was re-admitted to Facility on August 21, 2023.




                                            10
   Case 2:25-cv-02264-HLT-BGS        Document 1     Filed 05/15/25   Page 11 of 37




      57.    Upon information and belief, Resident was at risk for developing

pressure injuries.

      58.    Resident had just recovered from a previous sacral pressure injury.

      59.    Resident required maximum assistance.

      60.    The next day, a new pressure injury developed.

      61.    Resident required extensive assistance with bed mobility.

      62.    Prior to discharge, Resident developed an avoidable sacral pressure

injury at Ensign’s Facility.

      63.    Ensign Facility had insufficient staffing to care for Resident:




       Ignite Facility And Ignite Team Partners’ Treatment Of Resident

      64.    Resident was admitted to the Ignite Facility on August 29, 2023.

      65.    Upon information and belief, Resident was at risk for developing

pressure injuries.

      66.    Upon information and belief, Resident was at risk for developing

infections from pressure injuries.

      67.    On August 30,2023, Resident's care plan at Ignite Facility called for

monitoring her skin and reporting changes and a pressure reducing mattress.

      68.    On August 31, a social worker at Ignite Facility noted a stage III

pressure injury on Resident's coccyx.




                                          11
   Case 2:25-cv-02264-HLT-BGS         Document 1     Filed 05/15/25    Page 12 of 37




       69.    On September 6, 2023, the Ignite Facility noted a stage III pressure

injury.

       70.    On September 10, 2023, Dr.'s ordered weekly skin checks for Resident

at Ignite Facility.

       71.    Resident was 100% dependent on Ignite Facility staff.

       72.    Ignite Facility had insufficient staffing to care for Resident.




       73.    On September 7, 2023, Resident was transferred to University of

Kansas Hospital.

       74.    Resident was examined and found to have a large, non-blanchable, and

foul-smelling coccyx wound.

       75.    On September 10, 2023, it was determined that Resident suffered from

infections from both Bacteroides fragilis and Proteus mirabilis.




                                           12
   Case 2:25-cv-02264-HLT-BGS      Document 1     Filed 05/15/25   Page 13 of 37




      76.    Resident passed away on September 10, 2023, from necrotizing soft

tissue infection.




      Ensign And Ignite Facilities Deviations Of The Standard Of Care

      77.    Upon information and belief, despite Resident’s risk for developing

pressure injuries and infection, none of the Facility staff created a Care Plan for

resident that implemented the appropriate interventions, including dietary program,

and sufficient supervision.

      78.    Upon information and belief, none of the Facility staff implemented or

applied the appropriate interventions to address Resident’s risk of developing




                                        13
   Case 2:25-cv-02264-HLT-BGS         Document 1    Filed 05/15/25   Page 14 of 37




pressure injuries and infection, nor did the Ensign Facility or Ignite Facility staff

supervise Resident while he was eating.

       79.    Upon information and belief none of the Ensign Facility or Ignite

Facility staff:

             a. Properly assessed Resident’s risk of developing pressure injuries and
                infection.

             b. Implemented or provided the appropriate interventions to prevent
                Resident from developing pressure injuries and infection.

             c. Monitored or evaluated Resident’s Care Plan to see if the interventions
                prescribed were working; or

             d. Monitored Resident’s diet and risk of developing pressure injuries and
                infection.

       80.    Upon information and belief, at no point while Resident was a resident

at the Ensign Facility or Ignite Facility did any of the Ensign Facility or Ignite

Facility management, including the Administrator, the Director of Nursing, the

clinical education coordinator, anybody from Ensign Facility; Ignite Facility, Ignite

Team Partners; Gateway Healthcare, Ensign Services, or Ensign Group or any other

staff member ever provide any sort of in-service training or clinical education to the

Ensign Facility or Ignite Facility staff regarding the assessment, prevention, use of

interventions, monitoring, and reporting of developing pressure injuries and

infection incidents in residents like Resident.

       81.    Upon information and belief, at no point while Resident was a resident

at the Ensign Facility or Ignite Facility did any of the Ensign Facility or Ignite

Facility management, including the Administrator, the Director of Nursing, the

clinical education coordinator, anybody from Ensign Facility; Ignite Facility,

Gateway Healthcare, Ensign Service, or Ensign Group or any other staff member



                                           14
   Case 2:25-cv-02264-HLT-BGS        Document 1     Filed 05/15/25   Page 15 of 37




ever implement the appropriate policies and procedures at the Ensign Facility or

Ignite Facility regarding the assessment, prevention, use of interventions,

monitoring, and reporting of developing pressure injuries and infection incidents in

residents like Resident.

      82.    Upon information and belief, while Resident was a resident at the

Ensign Facility or Ignite Facility, the Ensign Facility or Ignite Facility did not have

an adequate number of staff working daily at the Ensign Facility or Ignite Facility

to meet Resident’s needs, perform the interventions required to prevent Resident's

avoidable pressure injuries and infection incident, or monitor and adequately

supervise Resident’s condition.

Undercapitalization/Underfunding at the Ensign Facility and Ignite Facility

      83.    Ignite Team Partners; Gateway Healthcare, Ensign Services, and

Ensign Group had a duty to provide financial resources and support to the Ensign

Facility and Ignite Facility in a manner that would ensure that each of their

residents received the necessary care and services and attain or maintain the highest

practicable physical, mental, and psychosocial well-being, consistent with their

residents’ comprehensive assessments and plans of care.

      84.    Ignite Team Partners; Gateway Healthcare, Ensign Services, and

Ensign Group had a duty to provide sufficient financial resources to ensure there

was enough properly trained and supervised staff to meet the needs of their

residents.

      85.    Upon information and belief, Ensign Facility and Ignite Facility had no

autonomy to decide their own financial course, including no authority to determine

how much staff they could provide or what resources were available to the staff.



                                          15
   Case 2:25-cv-02264-HLT-BGS         Document 1     Filed 05/15/25    Page 16 of 37




         86.   Upon information and belief, no individuals at the Ensign Facility

orIgnite Facility are involved in decision making about the financial operations or

what its resources were and where they would be spent.

         87.   Transactions directed by Ignite Team Partners; Gateway Healthcare,

Ensign Services, and Ensign Group left the Ensign Facility and Ignite Facility with

insufficient cash to provide sufficient qualified staff to meet the individual needs of

the residents in their facility during Resident’s time there.

  LEGAL BASIS FOR IGNITE TEAM PARTNERS; GATEWAY HEALTHCARE,
         ENSIGN SERVICES, AND ENSIGN GROUP’S LIABILITY

                              Joint Venture/Enterprise

         88.   Ignite Team Partners; Gateway Healthcare, Ensign Services, and

Ensign Group are collectively referred to herein as the “Corporate Defendants.”

         89.   The Corporate Defendants directed, operated and managed the day-to-

day functions of their nursing facilities – including the Ensign Facility and Ignite

Facility – by developing and implementing policies, practices and procedures

affecting all facets of the Ensign Facility and Ignite Facility, including resident care.

         90.   These policies manipulate and control the physical and financial

resources and prohibit decision making at the Ensign Facility and Ignite Facility

level.

         91.   This directly affects resident care by determining things such as what

type and quality of nourishment is available for residents; what safety measures may

and may not be used depending upon cost; the integrity of the building itself; and

most importantly, how much staff is available to provide resident care and how well

trained and supervised are the staff to meet the needs of the residents.




                                           16
   Case 2:25-cv-02264-HLT-BGS        Document 1      Filed 05/15/25   Page 17 of 37




      92.    The Corporate Defendants affirmatively chose and decided to establish

such operations and demand they be implemented.

      93.    Upon information and belief, such operations included, inter alia, the

following dangerous policies and practices: (a) the aggressive recruitment and

admission of high acuity patients to increase the patient census when Defendants

had already chosen to understaff the Ensign Facility and Ignite Facility and

continually maintain a staff that were not qualified nor competent to provide the care

required by state law, regulations and minimum standards of the medical

community; and (b) the decision to retain residents whose needs exceeded the

qualification and care capability of the Ensign Facility and Ignite Facility’s staff.

      94.    The Corporate Defendants consciously chose not to implement safety

policies, procedures and systems which would ensure that: (a) the acuity levels and

needs of residents were consistent with the numbers and qualifications of direct

caregivers; and (b) treatment/care prescribed by a physician was provided in

accordance with state laws and professional standards.

                     Direct Participation/Individual Actions

      95.    The Corporate Defendants were always material to this lawsuit in the

business of managing, owning and operating a network of nursing homes throughout

the State of Kansas. One such nursing home was the Ensign Facility and Ignite

Facility where Resident was admitted for care and treatment.

      96.    At all times material to this lawsuit, the Corporate Defendants were

fully aware that the delivery of essential care services in each of their nursing homes

– including the Ensign Facility and Ignite Facility – hinged upon three fundamental

fiscal and operational policies which were dictated by their choices on establishing



                                           17
   Case 2:25-cv-02264-HLT-BGS         Document 1    Filed 05/15/25   Page 18 of 37




and implementing such policies: (1) the determination of the numbers and

expenditures on staffing levels; (2) the determination of the census levels within the

nursing home; and, (3) payor mix.

      97.      At all times material, the Corporate Defendants made critical

operational decisions and choices which manipulated and directly impacted the

Ensign Facility and Ignite Facility’s revenues and expenditures. More particularly,

the Corporate Defendants determined:

            a. The number of staff allowed to work in their chains of nursing homes
               including the Ensign Facility and Ignite Facility.

            b. The expenditures for staffing at the nursing homes including the Ensign
               Facility and Ignite Facility.

            c. The revenue targets for each nursing home including the Ensign Facility
               and Ignite Facility.

            d. The payor mix, and census targets for each nursing home including the
               Ensign Facility and Ignite Facility.

            e. Patient recruitment programs and discharge practices at each nursing
               home including the Ensign Facility and Ignite Facility.

      98.      All cash management functions, revenues and expenditure decisions at

the nursing home level – including the Ensign Facility and Ignite Facility – were

tightly managed, directed, and supervised by the Corporate Defendants.

      99.      It was the choices made by the Corporate Defendants which directly

fixed the circumstances in the facilities and the level of care that could, and was,

provided at the homes, including the Ensign Facility and Ignite Facility.

      100.     The Corporate Defendants formulated, established and mandated the

application and implementation of the policies regarding the staffing levels and

expenditures, the census levels, and payor mix.



                                           18
   Case 2:25-cv-02264-HLT-BGS        Document 1     Filed 05/15/25    Page 19 of 37




       101.   The census edicts, marketing and admission practices, and resident

discharge policies designed and mandated by the Corporate Defendants were

implemented and such application was carefully supervised and enforced.

       102.   Following the mandates, the Ensign Facility and Ignite Facility

functioned in accordance with them, filling empty beds, recruiting high acuity

patients, and maintaining a census level and staffing level established and enforced

as the Corporate Defendants deemed appropriate.

       103.   Accordingly, such manipulation by the Corporate Defendants as to

staffing and census were motivated by the financial needs of the Corporate

Defendants and the Ensign Facility and Ignite Facility as opposed to the acuity levels

and needs of the residents as dictated by state and federal laws and regulations.

       104.   Instead of abiding by their duty to care for the residents, the Corporate

Defendants chose to be guided by financial motivation which was simply to increase

revenues while restricting and/or reducing expenses.

       105.   The Corporate Defendants, therefore, directly participated in a

continuing course of negligent conduct, requiring the Ensign Facility and Ignite

Facility to recruit and retain heavier care, higher pay residents to the Ensign Facility

and Ignite Facility even though the needs of the patient population far exceeded the

capacity of staff.

       106.   At the same time, the Corporate Defendants chose to design, create,

implement and enforce operational budgets at the Ensign Facility and Ignite Facility

which dictated the level of care that could be provided and therefore deprived

residents care, creating widespread neglect.




                                          19
   Case 2:25-cv-02264-HLT-BGS       Document 1     Filed 05/15/25   Page 20 of 37




      107.    In so doing, the Corporate Defendants disregarded, superseded, and

violated the duties and responsibilities imposed on a licensed nursing home, in this

case the Ensign Facility and Ignite Facility, by the State of Kansas, and the federal

government.

                              Corporate Malfeasance

      108.    The Corporate Defendants consciously chose not to implement safety

policies, procedures and systems which would ensure that: (1) the acuity levels and

needs of residents were consistent with the numbers and qualifications of direct

caregivers; and (2) treatment/care prescribed by a physician was provided in

accordance with state laws and professional standards.

      109.    Accordingly, the Corporate Defendants, by their operational choices and

decision making, and to satisfy their desire to grow profits, created a dangerous

condition that caused harm to residents.

      110.    These choices to establish and implement such policies and the

conscious decision not to implement corrective actions or procedures disregarded the

duties which the State of Kansas and federal government imposed upon the

Corporate Defendants and the Ensign Facility and Ignite Facility.

      111.    Because the staffs were below necessary levels, and because the staffs

that were present were not properly qualified or trained, the residents at the Ensign

Facility and Ignite Facility including Resident, failed to receive even the most basic

care required to prevent catastrophic injury and death.         This negligence and

resulting injuries ultimately led to and caused Resident’s injuries and death as

described above.




                                           20
   Case 2:25-cv-02264-HLT-BGS         Document 1     Filed 05/15/25    Page 21 of 37




       112.     During Resident’s residency at the Ensign Facility and Ignite Facility,

Resident sustained physical injuries and died, as described in more detail above,

because of the acts, omissions, decisions and choices made by the Corporate

Defendants in operating the Ensign Facility and Ignite Facility.

       113.     During Resident’s residency at the Ensign Facility and Ignite Facility,

the Corporate Defendants negligently failed to provide and/or hire, supervise and/or

retain staff capable of providing Resident with a clean, safe and protective

environment, and that, as a result of this failure, Resident suffered neglect, abuse,

severe personal injuries, conscious pain and suffering, and deterioration of Resident’s

physical condition as further described above. Ultimately, Resident died because of

this failure.

       114.     The Corporate Defendants manage, operate and direct the day-to-day

operations of the Ensign Facility and Ignite Facility and these Corporate Defendants

are liable for this direct involvement in the operations of such Ensign Facility and

Ignite Facility. These Corporate Defendants are therefore liable to the Plaintiff for

the neglect of and injuries to Resident.

       115.     The Ensign Facility and Ignite Facility and these Corporate Defendants

have been named as Defendants in this lawsuit for their individual and direct

participation in the torts and causes of action made the basis of this lawsuit, having:

          a. Chosen to disregard the duties and responsibilities which the Ensign
             Facility and Ignite Facility, as a licensed nursing home, owed to the State
             of Kansas and its residents.

          b. Created the dangerous conditions described by interfering with and causing
             the Ensign Facility and Ignite Facility to violate Kansas statutes, laws and
             minimum regulations governing the operation of said nursing home.

          c. Superseding the statutory rights and duties owed to nursing home



                                           21
   Case 2:25-cv-02264-HLT-BGS         Document 1     Filed 05/15/25   Page 22 of 37




               residents by designing and mandating dangerous directives, policies,
               management and day to day operation of the Ensign Facility and Ignite
               Facility.

            d. Caused the harm complained of herein; and

            e. Choosing to disregard the contractual obligations owed to the State of
               Kansas and the Federal Government to properly care for the residents in
               exchange for payment of funds for such care.

                   COUNT I - (Wrongful Death v. All Defendants)

      116.     Plaintiff incorporates by reference the allegations previously set forth

and further alleges as follows:

      117.     At all times material hereto Resident was in a defenseless and

dependent condition.

      118.     As a result of Resident’s defenseless and dependent condition, Resident

relied upon Defendants to provide for their safety, protection, care and treatment.

      119.     At the time of the negligent acts and occurrences complained of herein

and at all other times relevant hereto, Defendants, and their agents and employees,

owed a legal duty to Resident to exercise that degree of skill and learning ordinarily

exercised by members of their respective professions under the same or similar

circumstances.

      120.     At all relevant times, Defendants had a duty to act in accordance with

the standards of care required of those owning, operating, managing, maintaining,

and/or controlling a skilled nursing Facility.

      121.     These duties required Defendants to implement and enforce policies

and procedures to ensure the proper care for, and treatment of all residents including

Resident.




                                           22
   Case 2:25-cv-02264-HLT-BGS          Document 1     Filed 05/15/25    Page 23 of 37




      122.    These duties required Defendants to have sufficient and qualified staff

at the Ensign Facility and Ignite Facility nursing home to ensure the proper care for,

and treatment of all residents including Resident.

      123.    These duties required Defendants to ensure that the Ensign Facility

and Ignite Facility’s nurses and other staff were properly educated and trained about

the care for, and treatment of all residents including Resident.

      124.    These duties required Defendants to ensure that the Ensign Facility

and Ignite Facility was properly capitalized to ensure the proper care for, and

treatment of all residents including Resident.

      125.    Specifically, during their care and treatment of Resident, Defendants

and their agents, servants, and/or employees breached their duties and were guilty

of the following acts of negligence and carelessly by failing to measure up to the

requisite standard of care, skill, and practice ordinarily exercised by members of

their profession under the same or similar circumstances, including by:

             a. Failing to adequately assess, monitor, document, treat, and respond to
                Resident’s physical condition as well as Resident’s skin condition.

             b. Failing to adequately assess Resident’s risk of developing pressure
                injuries and infection.

             c. Failing to timely, consistently, and properly monitor, assess, and
                document Resident’s physical condition.

             d. Failing to provide adequate nursing staff to ensure Resident’s 24-hour
                protective oversight and supervision.

             e. Failing to have enough staff at the Ensign Facility and Ignite Facility to
                ensure Resident’s needs were being met regarding diet, pressure injury,
                and infection prevention.

             f. Failing to provide adequate assistive devices and interventions to prevent
                Resident’s pressure injury and infection incidents.




                                            23
   Case 2:25-cv-02264-HLT-BGS          Document 1      Filed 05/15/25    Page 24 of 37




             g. Failing to enact and carry out an adequate Care Plan regarding
                Resident’s increased risk for pressure injury and infection.

             h. Failing to provide adequate preventative skin care to Resident.

             i. Failing to provide adequate assistance and assistive devices to prevent
                Resident’s pressure injuries and infections.

             j. Failing to timely report Resident’s changes in condition to a physician.

             k. Failing to carry out the instructions of Resident’s physician.

             l. Failing to adequately, timely and consistently prevent, assess, and treat
                Resident’s pressure injuries and infections.

             m. Failing to timely transfer Resident to another facility that could provide
                adequate care.

             n. Failing to properly supervise and train the employees, agents and/or
                servants of the Defendants who were responsible for the care and
                treatment of Resident.

             o. Failing to have and/or implement appropriate policies and procedures
                regarding the prevention, assessment, and treatment of dietary needs,
                pressure injuries and infections in residents like Resident.

             p. Failing to carry out and follow standing orders, instructions and protocol
                regarding the prevention of Resident’s pressure injuries and infections.

             q. Failing to ensure the nursing home was properly capitalized.

             r. Failing to perform and measure up to the requisite standards of care
                required and observed by health care providers and further particulars
                presently unknown to Plaintiff, but which is verily believed and alleged
                will be disclosed upon proper discovery procedures during this litigation.

      126.    As a direct and proximate result of the individual and collective acts of

negligence of Defendants as described above, Resident was harmed and suffered

damages, including but not limited to medical bills and expenses, pain, suffering,

mental anguish, disability, disfigurement, and loss of enjoyment of life; death; and

other damages.




                                            24
   Case 2:25-cv-02264-HLT-BGS        Document 1        Filed 05/15/25     Page 25 of 37




      127.   As a direct and proximate result of the individual and collective acts of

negligence of all Defendants as described above, Plaintiff suffered damages

including, but not limited to, loss of companionship, loss of comfort, loss of guidance,

loss of counsel and loss of instruction, pain, suffering, bereavement and mental

anguish.

      WHEREFORE,         Plaintiff   (individually),    prays   for     judgment   against

Defendants in an amount more than $75,000.00 and in an amount a jury deems fair

and reasonable under the circumstances, including, but not limited to, medical

expenses, actual damages, the costs of this action, and for such other and further

relief as the Court deems just and proper.

        COUNT II - (Pain and Suffering by the Estate v. All Defendants)

      128.   At all times material hereto Resident was in a defenseless and

dependent condition.

      129.   As a result of Resident’s defenseless and dependent condition, Resident

relied upon Defendants to provide for their safety, protection, care, and treatment.

      130.   At the time of the negligent acts and occurrences complained of herein

and at all other times relevant hereto, Defendants, and their agents and employees,

owed a legal duty to Resident to exercise that degree of skill and learning ordinarily

exercised by members of their respective professions under the same or similar

circumstances.

      131.   At all relevant times, Defendants had a duty to act in accordance with

the standards of care required of those owning, operating, managing, maintaining,

and/or controlling a skilled nursing Facility.




                                           25
   Case 2:25-cv-02264-HLT-BGS        Document 1     Filed 05/15/25   Page 26 of 37




      132.    These duties required Defendants to implement and enforce policies

and procedures to ensure the proper care for, and treatment of all residents including

Resident.

      133.    These duties required Defendants to have sufficient and qualified staff

at the Facility to ensure the proper care for, and treatment of all residents including

Resident.

      134.    These duties required Defendants to ensure that the Facility’s nurses

and other staff were properly educated and trained regarding the care for, and

treatment of all residents including Resident.

      135.    These duties required Defendants to ensure that the Facility was

properly capitalized to ensure the proper care for, and treatment of all residents

including Resident.

      136.    Specifically, during their care and treatment of Resident, Defendants

and their agents, servants, and/or employees breached their duties and were guilty

of the following acts of negligence and carelessly by failing to measure up to the

requisite standard of care, skill, and practice ordinarily exercised by members of

their profession under the same or similar circumstances, including by:

             a. Failing to adequately assess, monitor, document, treat, and respond to
                Resident’s physical condition as well as Resident’s skin condition.

             b. Failing to adequately assess Resident’s risk of developing pressure
                injuries and infection.

             c. Failing to timely, consistently, and properly monitor, assess, and
                document Resident’s physical condition.

             d. Failing to provide adequate nursing staff to ensure Resident’s 24-hour
                protective oversight and supervision.




                                          26
   Case 2:25-cv-02264-HLT-BGS          Document 1      Filed 05/15/25    Page 27 of 37




             e. Failing to have enough staff at the Ensign Facility and Ignite Facility to
                ensure Resident’s needs were being met regarding diet, pressure injury,
                and infection prevention.

             f. Failing to provide adequate assistive devices and interventions to prevent
                Resident’s pressure injury and infection incidents.

             g. Failing to enact and carry out an adequate Care Plan regarding
                Resident’s increased risk for pressure injury and infection.

             h. Failing to provide adequate preventative skin care to Resident.

             i. Failing to provide adequate assistance and assistive devices to prevent
                Resident’s pressure injuries and infections.

             j. Failing to timely report Resident’s changes in condition to a physician.

             k. Failing to carry out the instructions of Resident’s physician.

             l. Failing to adequately, timely and consistently prevent, assess, and treat
                Resident’s pressure injuries and infections.

             m. Failing to timely transfer Resident to another facility that could provide
                adequate care.

             n. Failing to properly supervise and train the employees, agents and/or
                servants of the Defendants who were responsible for the care and
                treatment of Resident.

             o. Failing to have and/or implement appropriate policies and procedures
                regarding the prevention, assessment, and treatment of dietary needs,
                pressure injuries and infections in residents like Resident.

             p. Failing to carry out and follow standing orders, instructions and protocol
                regarding the prevention of Resident’s pressure injuries and infections.

             q. Failing to ensure the each nursing home was properly capitalized.

             r. Failing to perform and measure up to the requisite standards of care
                required and observed by health care providers and further particulars
                presently unknown to Plaintiff, but which is verily believed and alleged
                will be disclosed upon proper discovery procedures during this litigation.

      137.    As a direct and proximate result of the individual and collective acts of

negligence of Defendants as described above, Resident was harmed and suffered non-




                                            27
   Case 2:25-cv-02264-HLT-BGS        Document 1     Filed 05/15/25   Page 28 of 37




economic     damages,   including   pain,   suffering,   mental   anguish,   disability,

disfigurement, and loss of enjoyment of life.

      138.    The actions of defendants were malicious, wanton, grossly negligent

and reckless, and performed in reckless disregard of the welfare and safety of

Resident and others, such that, in addition to damages for pain and suffering,

defendants are liable for punitive damages for their grossly negligent care of

Resident.

      139.    At the time defendants caused and allowed Resident to suffer an

avoidable fall, they knew that their conscious disregard to provide adequate staff;

properly capitalize Facility, train, and/or supervise their agents, servants and/or

employees during 2021, 2022, and 2023 created a high degree of probability of injury

to residents, and consciously disregarded the safety of all residents including

Resident.

      140.    Accordingly, defendants showed a complete indifference to, or conscious

disregard, for the safety of others, including Resident and warrants punitive

damages be assessed against defendants in an amount that is fair and reasonable

and will punish defendants and deter them and others from similar conduct.

      141.    As a direct and proximate result of defendants’ negligence, and complete

indifference to, or conscious disregard, for the safety of others, including Resident,

Resident was harmed and suffered non-economic damages, including pain, suffering,

mental anguish, disability, disfigurement, and loss of enjoyment of life.




                                            28
   Case 2:25-cv-02264-HLT-BGS          Document 1   Filed 05/15/25     Page 29 of 37




      142.   The Estate is entitled to a jury trial as to the amount of punitive

damages pursuant to the Seventh Amendment of the United States Constitution and

Jones v. United Parcel Services, Inc., No. 09–3275 (10th Cir. 2011).

      WHEREFORE, Plaintiff (The Estate) prays for judgment against Defendants in

an amount more than $75,000.00 and in an amount a jury deems fair and reasonable

under the circumstances, including non-economic damages for conscious pain and

suffering and past medical expenses.

          COUNT III - (Alter Ego v. Defendant Against Ensign Group)

      143.   Plaintiffs incorporate by reference the allegations previously set forth

and further alleges as follows:

      144.   For the purposes of this Count Defendants Ensign Group are

hereinafter referred to as the “Alter Ego Defendant”.

      145.   Ensign Facility (“Subsidiary”) is so dominated by the Alter Ego

Defendant that the Subsidiary is a mere instrument of the Alter Ego Defendant and

are indistinct from the Alter Ego Defendant.

      146.   In fact, the Subsidiary is controlled and influenced by the Alter Ego

Defendant in that the Alter Ego Defendant exercised complete control and

domination over the Subsidiary finances and business practices.

      147.   Specifically, the Alter Ego Defendant’ complete control and domination

over the Subsidiary caused the Facility’s undercapitalization and understaffing

while Resident was at the Facility.




                                           29
   Case 2:25-cv-02264-HLT-BGS         Document 1      Filed 05/15/25   Page 30 of 37




      148.    Upon information and belief, the Alter Ego Defendant’ complete control

and domination over the Subsidiary caused the Subsidiary to operate at a loss during

the years 2021, 2022, and 2023.

      149.    Upon information and belief, the Alter Ego Defendant’ complete control

and domination over the Subsidiary caused the Subsidiary’s liabilities to exceed its

assets by during the years 2021, 2022, and 2023. Specifically:

             a. The Alter Ego Defendant own all or most of the capital stock of the
                Subsidiary.

             b. The Alter Ego Defendant and the Subsidiary have common directors or
                officers.

             c. The Alter Ego Defendant finance the Subsidiary.

             d. The Alter Ego Defendant subscribe to all the capital stock of the
                Subsidiary.

             e. The Alter Ego Defendant caused the incorporation of the Subsidiary.

             f. The Facility has grossly inadequate capital.

             g. The Alter Ego Defendant pay the salaries and other expenses or losses of
                the Subsidiary.

             h. The Alter Ego Defendant use the property of the Subsidiary as its own;
                and

             i. The directors or executives of the Subsidiary do not act independently in
                the interest of the Subsidiary but take their orders from the Alter Ego
                Defendant in the latter's interest.

      150.    Thus, the Alter Ego Defendant used the corporate cloak of the

Subsidiary as a subterfuge to defeat public convenience, to justify a wrong, and/or to

perpetrate a fraud in that the Alter Ego Defendant’ complete control and domination

of the Subsidiary depleted all the Subsidiary’s assets, thereby making it unable to

pay a judgment resulting from its care of residents including Resident.




                                           30
   Case 2:25-cv-02264-HLT-BGS         Document 1     Filed 05/15/25    Page 31 of 37




      151.   Ensign Group, Inc., public filings state that Ensign Group has assets;

namely its equity interests in its operating subsidiaries including Ensign Facility

By its own admission — in its Securities and Exchange Commission Form 10-K —

Ensign Group, Inc., has assets; namely it direct and indirect equity interests in its

multiple operating subsidiaries. Per Ensign Group, Inc., federal regulatory filing,

Ensign Facility is an Ensign Group asset.

      152.   Ensign Group, Inc., controls its subsidiary assets — including Ensign

Facility —which it also calls “affiliates.”

          a. Ensign Group, Inc., defines control as the power to direct the
             management and policies of its affiliates. In federal regulatory filings,
             Ensign Group, Inc., defines "affiliate” as “(i) any entity that, directly or
             indirectly through one or more intermediaries, is controlled by the
             Company and (ii) any entity in which the Company has a significant
             equity interest.”

          b. The Ensign Group Inc., Secretary testified that Ensign Group, Inc., has
             the right to as a shareholder to control the action of its subsidiaries, and
             its Ensign Group, Inc.’s choice whether it wants to exert control or not.
             Mr. Keetch has and will testify that Ensign Group, Inc., makes
             “controlling decisions” for its wholly owned subsidiary Ensign Services,
             Inc., which provides services to operating subsidiaries.

          c. The Ensign Group, Inc., Secretary testified that the "buck stop[s]” at
             the Ensign Group Board. Chad Keetch testified, "I mean, yeah, if you
             follow the chain of ownership, ultimately I suppose the buck would stop
             at the Ensign Group Board.” Mr. Keetch’s frank testimony confirms that
             the Ensign Group, Inc., Board is the ultimate authority for the operation
             of Ensign skilled nursing facilities including Ensign Facility.

          d. Ensign Group, Inc., completes home office cost reports for its skilled
             nursing facilities. Home office cost reports are submitted to the federal
             government by nursing home chains that are ‘controlled by one
             organization” according to the federal government (specifically the
             Centers for Medicare and Medicaid Services), a home office cost report
             is completed by nursing home chain operations that are “controlled” by
             one organization.” By completing home office cost reports for its more
             than 200 skilled nursing facilities – including Ensign Facility — Ensign
             has repeatedly confirmed its understanding that it controlled those
             skilled nursing facilities.



                                              31
   Case 2:25-cv-02264-HLT-BGS         Document 1   Filed 05/15/25   Page 32 of 37




      153.   Ensign Group, Inc., has employee, including its officers and directors.

These employees exercise control of affiliates including Ensign Facility.

         a. Ensign Group in regulatory filings has defined its" full-time or part time
            employees” as “officers and directors who are also employees.”

      154.   Ensign Group Inc., claims that its affiliates-including Ensign Facility

are independent.   This claim is false as sworn testimony of Ensign Group officers

and administrators, and other employees of Ensign Group skilled nursing facility

affiliates has debunked this claim.

      155.   Ensign administrators do not control the monies moving in and out of

their skilled nursing facilities. There is considerable evidence and testimony that

Ensign administrators do not control the monies that flow into (revenue) and out of

(expenses) their facilities. A U.S. business entity that does not control its monies

cannot be said to control its operations. With respect to Ensign:

         a. Daily, the revenue collected by Ensign skilled nursing facilities is taken
            away from the Ensign administrators and swept into a “lockbox”
            account controlled by Ensign Services, Inc., which is wholly owned by
            Ensign Group. Chad Keetch testified that Ensign facilities' accounts
            receivable is deposited daily into a pooled lockbox account controlled by
            Ensign Services, Inc., (a wholly owned subsidiary of Ensign Group, Inc.)
            Ensign Administrator will not know the details of how funds are swept
            into a bank account controlled by Ensign Administrator, nor did he
            know which account facility income is deposited. Every day, Ensign
            administrators across the country lose control of their revenue, because
            that revenue is swept into accounts belonging to Ensign Services, Inc.;
            accounts the Ensign facility administrators don’t control and can't
            control. Because Ensign administrators lack day-to-day control of their
            revenue, they lack control of their operations.

         b. Ensign administrator can’t withdraw money from or write checks off
            their facility bank accounts. Chad Keetch, Ensign Executive, testified
            that Ensign administrators "can't jut, you know, go to the bank and
            withdrawn money The administrator in this case testified that he is not
            authorized to write checks and is not authorized to make any
            withdrawals from the bank account where Medicare and Medicaid
            receivables are deposited. Because Ensign administrators aren't



                                          32
   Case 2:25-cv-02264-HLT-BGS        Document 1      Filed 05/15/25   Page 33 of 37




             authorized to withdraw money from facility bank accounts the
             administrator lacks the ultimate authority to control their facilities.

          c. A revolving credit agreement guaranteed by Ensign Group restricts
             actions of its subsidiary skilled nursing facilities like Ensign Facility.
             Mr. Keetch testified to the existence of a revolving credit agreement
             (also known as a credit facility or revolver) guaranteed by Ensign
             Group, Inc., Per SEC filings this twice amended credit facility restricted
             the actions of skilled nursing facility affiliates like Ensign Facility
             including but not limited to incurring indebtedness, granting liens,
             selling assets, making investments, and engaging in acquisition,
             merger, or consolidations. The Administrator will testify that that he
             did not have the authority to enter into loans or establish revolving
             credit agreement. That i because the authority to do o resides with
             Ensign Group, Inc., which entered the twice-amended credit facility.
             When the action of Ensign administrators is restricted by third parties
             (i.e., Ensign Group Inc., and lenders), then the Ensign administrator
             lack ultimate authority over and control of their facilities’ operations

          d. Ensign skilled nursing expenses are paid from a fund that pools money
             from hundreds of Ensign skilled nursing facilities. David Connolly, Vice
             President of Operational Finance, Ensign Services, Inc., testified that
             funds used to pay expenses for facilities lacking funds are classified as
             "interest free" loans. However, Connolly was not aware of any signed
             promissory notes between subsidiary facilities. The use of pooled funds
             to pay expenses for Ensign facilities and even to issue interest-free loans
             to fellow facilities-is compelling evidence that Ensign administrators
             don't control the monies used to fuel their individual facility operations.
             Daily, Ensign administrators tap into a pool of money that flows from
             more than 200 facilities. No single Ensign administrator — including
             the Ensign Facility administrator — controls that pool of money.

      156.   Ensign Group, Inc., controls the following additional operational

aspects of its subsidiary skilled nursing facilities, including Ensign Facility:

          a. Ensign skilled nursing facility administrators are hired on the
             authority of the Ensign Group, Inc., CEO and are supervised by persons
             who work for entities controlled by the Ensign Group, Inc., Sworn
             testimony of Ensign administrators confirms that they are not their own
             boss. Cbad Keetch testified that Ensign administrators are hired on the
             authority of the Ensign Group Chief Executive Officer

          b. A Department of Health and Human Services Corporate Integrity
             Agreement (ClA) compelled The Ensign Group to create a Compliance
             Program for its facilities and to appoint a Compliance Officer who "shall
             be responsible for developing and implementing policies, procedures,



                                           33
Case 2:25-cv-02264-HLT-BGS      Document 1     Filed 05/15/25    Page 34 of 37




        and practices designed to ensure compliance [with the CIA and with
        Federal health care program requirements." Per the CIA, “Covered
        Persons•· included all "persons who (1) are involved directly or
        indirectly in the delivery of resident and or patient care." The CIA also
        required that the Compliance Officer "shall be a member of senior
        ma11agcmeul" of The Ensign Group. "shall report directly to the Chief
        Executive Officer" of The Ensign Group, and "shall make periodic (at
        least quarterly) reports regarding compliance matters directly to tbc
        Board of Directors of The Ensign Group. Mr. Keetch testified that
        Deborah Miller is the Compliance Officer, and an officer of The Ensign
        Group. Mr. Keetch also testified that if a facility said il wasn't going to
        comply with the CIA, "we would have to make some decision as to
        whether we're going to fire those people."

     c. The CIA made Ensign Group explicitly responsive for patient care
        policies and procedures at Ensign affiliate facilities including Ensign
        Facility. The CIA was clear that the Compliance Officer-a member of
        senior management at The Ensign Group who reported to the Ensign
        Group CEO-was "responsible for developing and implementing policies,
        procedures and practices [with the CIA] and with Federal health care
        program requirements." To be clear, the Ensign Group Corporate
        Compliance Officer was mandated to develop and implement policies
        and procedures related to the provision of care to residents including
        but not limited to Ensign Facility’ residents. Given this clear mandate
        from the federal government, which the Ensign Group, Inc., CEO
        signed, the December 21, 2020. The Ensign Group, Inc., by and through
        the CIA, was explicitly responsible for the provision of nursing care and
        other healthcare related services to residents like Mr. Barnes by
        employees of Ensign Facility.

     d. The CFO of the Ensign Group, Inc., is then CFO for each Ensign skilled
        nursing facility.

     e. Ensign Group is fully liable for all financial and legal aspects of
        employee benefit plans.

     f. Employees of Ensign skilled nursing facilities are required to
        familiarize themselves with the Ensign Group, Inc., Code of Conduct.

     g. Ensign Group’s “CAPLICO” values are expected to be followed by
        employees of Ensign Affiliates. Deborah Miller, Chief Compliance
        Officer, The Ensign Group, Inc., testified “I am the one that came up
        with the phrase [CAPLICO ‘N Me’ which is an anagram for
        “compliance.” Dinah Tolini, former Director of Social Services al an
        Ensign facility in Arizona, testified that “[t]here were posters that had
        the CAPLICO plan on it.” Ms. Toliui also testified that she knew
        CAPLlCO was “an Ensign thing.” Lena Wortman, — an Ensign affiliate



                                     34
   Case 2:25-cv-02264-HLT-BGS          Document 1   Filed 05/15/25   Page 35 of 37




             LPN — testified that she was trained on CAPLICO and the Ensign core
             values and that she was told it was an expectation of the facility that
             she follow those Ensign core values. Ms. Wortman also testified that
             there were CAPLICO signs in “several places in the building.” Mandy
             Blackmon testified that as a Director of Nursing at an Ensign affiliate
             she needed to follow Ensign’s CAPLICO core values.

         h. Ensign skilled nursing facility affiliates obtain professional liability
            insurance from an entity wholly owned by Ensign Group, Inc., Ensign
            administrators do not have the authority to obtain their own
            professional liability insurance. Cost reports for Ensign affiliated
            skilled nursing facilities indicate that liability insurance is provided by
            Standard bearer Insurance Company, a wholly owned subsidiary of
            Ensign Group, Inc., An Ensign Administrator — Doug Haney —
            testified that he has not participated in the selection of companies who
            provide insurance services to his facility and doesn’t knop the amount
            of premiums. Fischbeck testified that he doesn't have anything to do
            with procuring insurance. Ensign Administrator Michael testified that
            he doesn't know who procures liability insurance, but it's not him. He
            doesn’t know the name of his facility’s carrier and doesn't believe he's
            ever seen the policy.

         i. Ensign administrators do not have the authority to select legal
            representation for legal claims made against their facilities. The Ensign
            Group, Inc., General Counsel oversees litigation and litigation
            management services and informs the Ensign Group, Inc., Board about
            legal claims. Ensign Administrator Courtney Fischbeck testified that
            he did not have the authority to select what legal team would represent
            his facility. Legal claims for Ensign affiliated skilled nursing facilities
            are overseen by Beverly Wittekind, General Counsel of The Ensign
            Group. Ms. Wittekind informs The Ensign Group Board regarding
            claims every quarter.

         j. Ensign administrators can't and don't set their own bonus.

      157.   This undercapitalization and understaffing violated Ensign Facility’s

duties and the applicable standard of care owed by a nursing home operator or

manager to the Facility’s residents.

      158.   As a direct and proximate result of the individual and collective acts of

negligence of the Subsidiary – and the Alter Ego Defendant – Resident was harmed

and suffered damages, including but not limited to medical bills and expenses, pain,




                                           35
   Case 2:25-cv-02264-HLT-BGS        Document 1     Filed 05/15/25   Page 36 of 37




suffering, mental anguish, disability, disfigurement, and loss of enjoyment of life,

death, and other damages.

      159.   As a direct and proximate result of the individual and collective acts of

negligence of the Subsidiary, – and the Alter Ego Defendant – Plaintiffs, suffered

damages including, but not limited to, loss of companionship, loss of comfort, loss of

guidance, loss of counsel and loss of instruction, pain, suffering, bereavement and

mental anguish.

      WHEREFORE, Plaintiffs, prays for judgment against the Defendants in an

amount more than $75,000.00 and in an amount a jury deems fair and reasonable under

the circumstances, including, but not limited to, medical expenses, actual damages, the

costs of this action, and for such other and further relief as the Court deems just and

proper.

    PLAINTIFFS DEMAND A JURY TRIAL ON ALL ISSUES SO TRIABLE




                                          36
   Case 2:25-cv-02264-HLT-BGS        Document 1      Filed 05/15/25   Page 37 of 37




                                                Respectfully Submitted,

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I hereby certify that the below-signed Attorney signed the original of the above and
foregoing and is maintaining the original copy at said Attorney’s office.

 /s/ Jonathan Steele
 Attorney for Plaintiff




                                           37
